Case 2:22-cv-00293-JRG   Document 500 Filed 02/07/24    Page 1 of 22 PageID #:
                                   55734



                    UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                         MARSHALL DIVISION

NETLIST, INC.,                   )
                                 )
            Plaintiff,           )
                                 )    Case No. 2:22-cv-293-JRG (Lead Case)
     vs.                         )
                                 )    JURY TRIAL DEMANDED
SAMSUNG ELECTRONICS CO., LTD, ET )
AL.,                             )
                                 )
             Defendants.         )
                                 )
                                 )
NETLIST, INC.,                   )
                                 )
            Plaintiff,           )
                                 )    Case No. 2:22-cv-294-JRG (Member Case)
     vs.                         )
                                 )    JURY TRIAL DEMANDED
MICRON TECHNOLOGY, INC.; MICRON )
SEMICONDUCTOR PRODUCTS, INC.; )
MICRON TECHNOLOGY TEXAS LLC, )
                                 )
             Defendants.         )
                                 )

MICRON DEFENDANTS’ OPPOSITION TO PLAINTIFF NETLIST, INC.’S MOTION
  TO STRIKE CERTAIN OPINIONS OF MICRON DEFENDANTS’ EXPERT DR.
                         HAROLD STONE
Case 2:22-cv-00293-JRG                Document 500 Filed 02/07/24                               Page 2 of 22 PageID #:
                                                55735



                                          TABLE OF CONTENTS

     I.      Dr. Stone’s Essentiality Opinions are Admissible................................................ 1
     II.     Dr. Stone’s Non-Infringing Alternatives Are Proper............................................ 3
     III.    Dr. Stone’s “Phase Lock Loop” Opinions Are Admissible................................... 4
     IV.     Dr. Stone Applies the Correct Legal Standard in His Direct Infringement Analysis
             of the ’912 Patent.............................................................................................. 5
     V.      Dr. Stone’s SSPPU Opinions are Admissible...................................................... 7
     VI.     Dr. Stone’s Comparability Analysis is Admissible .............................................. 8
     VII.    Dr. Stone Applies Proper Claim Construction..................................................... 9
     VIII.   Dr. Stone’s Anticipation Analysis Should Not Be Stricken................................ 10
     IX.     Dr. Stone’s Written Description Theories were Properly Disclosed During Fact
             Discovery ....................................................................................................... 11
     X.      Dr. Stone’s Derivation Opinions are Proper...................................................... 13
     XI.     Dr. Stone’s Prior Invention Opinions are Proper ............................................... 13
     XII.    Pending IPRs are Part of the Prosecution Histories of the Asserted Patents........ 14
     XIII.   Dr. Stone’s Reference to the Samsung Litigation is in Rebuttal to Dr. Mangione-
             Smith’s Opinions Mentioning the Samsung Litigation First .............................. 14
     XIV.    Dr. Stone’s Opinions About JEDEC Standards Qualifying as Prior Art Are Proper
             ....................................................................................................................... 15
     XV.     CONCLUSION .............................................................................................. 15




                                                              i
Case 2:22-cv-00293-JRG                       Document 500 Filed 02/07/24                            Page 3 of 22 PageID #:
                                                       55736



                                              TABLE OF AUTHORITIES

                                                                                                                             Page(s)

Cases

Aventis Pharms. Inc. v. Amino Chemicals Ltd.,
   715 F.3d 1363 (Fed. Cir. 2013) ........................................................................................ 10

Aylus Networks, Inc. v. Apple, Inc.,
   856 F.3d 1353 (Fed. Cir. 2017) ........................................................................................ 14

ZiiLabs Inc., Ltd. v. Samsung Elecs. Co.,
    2015 WL 6690403 (E.D. Tex. Nov. 2, 2015)................................................................. 9, 14

DDR Holdings, LLC v. Hotels.com, L.P.,
  954 F. Supp. 2d 509 (E.D. Tex. 2013), aff'd in part, rev’d in part and
  remanded, 773 F.3d 1245 (Fed. Cir. 2014)........................................................................ 11

Entropic Commc’ns, LLC v. Charter Commc’ns, Inc.,
   2023 WL 8260866 (E.D. Tex. Nov. 28, 2023)..................................................................... 8

Finjan, Inc. v. Secure Computing Corp.,
    626 F.3d 1197 (Fed. Cir. 2010) .......................................................................................... 6

Fujitsu Ltd. v. Netgear Inc.,
    620 F.3d 1321 (Fed. Cir. 2010) ...................................................................................... 1, 3

Genband US LLC v. Metaswitch Networks Corp.,
   2016 WL 122969 (E.D. Tex. Jan. 9, 2016).......................................................................... 8

Huawei Techs. Co. Ltd. v. T-Mobile US, Inc.,
   2017 WL 9988630 (E.D. Tex. Aug. 25, 2017)..................................................................... 3

Metacluster LT, UAB v. Bright Data Ltd., No. 2:22-CV-011-JRG-RSP,
   2022 WL 18859434 (E.D. Tex. Dec. 20, 2022).................................................................. 14

Personalized Media Communs., LLC v. Apple, Inc.,
   No. 2:15-CV-01366-JRG, 2021 WL 310789 (E.D. Tex. Jan. 29, 2021).............................. 12

Statutes

35 U.S.C. § 112, ¶ 1............................................................................................................... 11

Other Authorities

Patent Rule 3.3 ...................................................................................................................... 11

Patent Rule 3.3(d).................................................................................................................. 11


                                                                   ii
Case 2:22-cv-00293-JRG     Document 500 Filed 02/07/24           Page 4 of 22 PageID #:
                                     55737



                               TABLE OF EXHIBITS

Ex. No.     Description

A           Excerpt from Netlist’s November 13, 2023, Responses to Micron’s Second Set
            of Interrogatories

B           Excerpts from Opening Expert Report of Dr. William Henry Mangione-Smith

C           Micron-Netlist agreement to cross-reference produced documents

D           Deposition of Peter Gillingham

E           Inter Partes Re-examination certificate, U.S. Patent No. 7,619,912

F           Excerpt from Rebuttal Expert Report of Peter Gillingham

G           Appendix A-1 of Opening Expert Report of Dr. Harold Stone

H           Appendix A-2 of Opening Expert Report of Dr. Harold Stone

I           Appendix C-1 of Opening Expert Report of Dr. Harold Stone

J           Appendix C-2 of Opening Expert Report of Dr. Harold Stone




                                          iii
Case 2:22-cv-00293-JRG             Document 500 Filed 02/07/24             Page 5 of 22 PageID #:
                                             55738



          Plaintiff Netlist’s motion to strike certain opinions presented by Defendant’s expert, Dr.

Harold Stone, should be denied for the reasons below.

     I.      Dr. Stone’s Essentiality Opinions are Admissible

          Netlist argues that its patents “are not standard essential.” ECF No. 364 at 1. This argument

ignores that Netlist’s expert maps the claims to the JEDEC standard without identifying any

specific implementation in Micron’s products. Such a theory is appropriate “[o]nly in the situation

where a patent covers every possible implementation of a standard.” Fujitsu Ltd. v. Netgear Inc.,

620 F.3d 1321, 1328 (Fed. Cir. 2010). Thus, under Netlist’s infringement theories, the asserted

patent claims are standard essential. Micron’s position is that the features relied on by Netlist to

prove infringement are optional, and thus, Netlist has failed to meet its burden under Fujitsu to

prove infringement based on those optional features. See ECF No. 345. Netlist should not be

permitted to rely primarily on the JEDEC standard to prove infringement while arguing the patent

claims are not standard essential. The parties are concurrently briefing Netlist’s motion for

summary judgment that its patents are not standard essential. See ECF No. 362.

          Netlist argues that Dr. Stone’s opinions are untimely. ECF No. 364 at 1. Not so. Dr.

Stone’s opinions are proper rebuttal testimony in response to Netlist’s expert’s infringement theory

that relies on JEDEC standards as infringement proof for every claim limitation. See ECF No. 364-

3 at ¶¶ 400-403. Netlist gave no prior warning that its expert would advance a standard essential

theory. To the contrary, Netlist’s Interrogatory Response No. 16 stated that only non-asserted

claims are standard essential. See Rueckheim Decl., EX-A at 10



          Netlist argues that Dr. Stone’s opinions are not legally sufficient. ECF No. 364 at 1. Not

so. Dr. Stone’s report




                                                   1
Case 2:22-cv-00293-JRG           Document 500 Filed 02/07/24            Page 6 of 22 PageID #:
                                           55739



c              ECF No. 364-3 at ¶ 404. Dr. Stone also identified how Netlist’s expert



         Id. at

                                 Dr. Stone also explained how Netlist is advancing a standards

essential case by focusing its infringement allegations on JEDEC-compliant components, which

are provided by different third-party suppliers, without any attempt to show how each and every

third-party supplier’s component meets the various logical diagram options provided in the

standard. See, e.g., id. at ¶ 398. Without the relevant JEDEC standards, Netlist has no proof as to

how many of the third-party components are configured with respect to Netlist’s infringement

allegations.

       Netlist argues that Dr. Stone erroneously concludes that Netlist’s DDR3 DIMM RAND

obligation for “unasserted” claims of the ’912 patent creates a RAND obligation for the asserted

claims and the accused DDR4 devices. Not so. Dr. Stone properly identified factual subject matter

that

                       ECF No. 364-3 at ¶ 397. Dr. Stone did not opine that this RAND obligation

applies to the accused DDR4 devices. See id.

       Netlist alleges that the Court has previously “rejected the exact same arguments.” ECF

No. 364 at 2. Not so. The Court issued in Case No. 2:22-cv-203 a Report and Recommendation

finding different Netlist patent claims were not standard essential when “nothing within the

contentions expressly demonstrates that the JEDEC standard is relied upon for the contentions.” 1

Case No. 2:22-cv-203, ECF No. 421 at 4. Dr. Stone’s report in the present case, by contrast to this




1 Micron filed an objection to the Report and Recommendation. Case No. 2:22-cv-203, ECF 441.



                                                2
Case 2:22-cv-00293-JRG   Document 500 Filed 02/07/24   Page 7 of 22 PageID #:
                                   55740
Case 2:22-cv-00293-JRG   Document 500 Filed 02/07/24   Page 8 of 22 PageID #:
                                   55741
Case 2:22-cv-00293-JRG            Document 500 Filed 02/07/24              Page 9 of 22 PageID #:
                                            55742



expert analysis. Specifically, Netlist’s infringement contentions broadly point to a JEDEC




                            These contentions did not identify any actual physical implementation

of any circuitry within this Logic Diagram for Micron to review and understand Netlist’s

allegations as to what Netlist contends is coupled versus operatively coupled.

       Netlist’s Motion should be denied because Dr. Stone’s opinions properly respond to a new

infringement theory offered for the first time in Netlist’s opening expert report. Specifically,

Netlist’s expert pointed to the same Logic Diagram and argued that the claim terms “coupled” and

“operatively coupled” should both be construed as “electrically connected.” Rueckheim Decl.,

EX-B (Mangione-Smith Opening Report),




          Netlist had never previously offered this claim construction position. Dr. Stone properly

responded to the new claim construction opinion by identifying (i) that a skilled artisan would not

understand the terms as Netlist’s expert urges, and (ii) Netlist’s expert nonetheless failed to identify

any operative coupling of a phase-locked loop in his citations to the logic diagrams he references.

See, e.g., ECF No. 364-3 at pp. 126-132. Consequently, Dr. Stone’s non-infringement opinions

are in direct rebuttal to Netlist’s opening expert report, including the untimely claim construction

argument provided therein, and are proper.

    IV.     Dr. Stone Applies the Correct Legal Standard in His Direct Infringement
            Analysis of the ’912 Patent

        Netlist argues that Dr. Stone applied the incorrect legal standard because the ’912 patent’s

claim 16 is an apparatus claim. ECF 364 at 5. Not so. Claim 16 recites an apparatus in active



                                                   5
Case 2:22-cv-00293-JRG          Document 500 Filed 02/07/24             Page 10 of 22 PageID #:
                                          55743



communication with a computer system. The claim recites a “logic element receiving a set of

input signals from the computer system.” Rueckheim Decl., EX-E, Claim 16 (3:18-20) (emphases

added). The computer system sends specific input signals: “comprising at least one row/column

address signal, bank address signals, and at least one chip-select signal” and “configured to control

a second number of DDR memory devices.” Id. (3:20-24). The claim also requires a “circuit

generating a set of output signals in response to the set of input signals” and “further responds

to a command signal and the set of input signals from the computer system by selecting one or

two ranks … and transmitting the command signal.” Id. (3:28-35) (emphases added). The claim

further requires that the “command signal … from the computer system … is transmitted to only

one DDR memory device at a time.” Id. (3:42-43) (emphases added). Dr. Stone properly opined

that the accused modes



                                                                       ECF No. 364-3 at ¶ 69.

       Netlist’s citation to Finjan, Inc. v. Secure Computing Corp., 626 F.3d 1197 (Fed. Cir. 2010)

is misplaced. ECF No. 364 at 5. Finjan examined “non-method claims” that “describe capabilities

without requiring any software component be “‘active’ or ‘enabled.’” Id. at 1204-1205. For

example, the claim language at issue recited “software components with specific purposes” such

as a “a logical engine for preventing execution.” Id. at 1205 (emphases added). By contrast, here,

the claims do not recite mere capability language—they recite affirmative actions by a circuit and

logic in communicating with a computer system. Netlist has not shown these actions take place,

there is no infringement here, and Dr. Stone’s opinions should not be struck. These limitations do

not simply recite what the components are “for” or are “configured to” perform those actions or

any other capability language. C.f. Finjan at 1205 (“This language [in Finjan claims] does not




                                                 6
Case 2:22-cv-00293-JRG            Document 500 Filed 02/07/24            Page 11 of 22 PageID #:
                                            55744



require that the program code be “active,” only that it be written “for causing” a server (’194 patent

claim 65) or a computer (’780 patent claim 18) to perform certain steps.”).

     V.      Dr. Stone’s SSPPU Opinions are Admissible

          Netlist’s motion to strike Dr. Stone’s opinions regarding SSPPU should be denied for

several reasons. As an initial matter, in Micron’s response to Netlist’s interrogatory, Micron

properly objected on the basis that the interrogatory was “prematurely seeking expert analysis and

contentions” and responded that “Defendants’ expert reports will identify Defendants’ damages

contentions.” ECF No. 364-6 at 51-52. Netlist bears the burden on damages here, and Dr. Stone’s

rebuttal expert opinions are proper.

          Further, Dr. Stone’s opinions regarding SSPPU are proper rebuttal opinions in response to

Netlist’s expert’s opinions regarding alleged

                                        Rueckheim Decl. EX-B (Mangione-Smith Opening Rpt.) at

Ex. I, ¶ 1. More specifically, Dr. Stone analyzed Netlist’s opening report and identified that




                                 ECF No. 364-3, ¶ 369.

          Netlist also cannot claim any purported prejudice by Dr. Stone’s opinions regarding SSPPU

because, as Netlist concedes, the

               ECF No. 364 at 6. Dr. Stone was entitled to review the information provided by Netlist

and respond. There is no prejudice here—Netlist clearly had notice of its own witness’ testimony.

          Furthermore, Dr. Stone’s SSPPU analysis does not contradict the Court’s claim

construction, nor the language of the claims. Dr. Stone’s opinions regarding SSPPU identify that

Netlist’s corporate representative conceded that many features of the claims were well-known and

conventional components that existed before the priority date of the ’912 and ’417 patents. ECF


                                                  7
Case 2:22-cv-00293-JRG          Document 500 Filed 02/07/24              Page 12 of 22 PageID #:
                                          55745



No. 364-3, ¶ 368. Dr. Stone then further opines that, as a result of those concessions by Netlist’s

corporate representative, and consistent with




                                                                                  ¶¶ 370-372. Thus,

Dr. Stone is not ignoring well-known elements of the claims, he explains that any value derived

from the alleged claimed inventions come from the allegedly novel RCD and data buffer elements

of the claims. Id., ¶ 370



    VI.    Dr. Stone’s Comparability Analysis is Admissible

       Dr. Stone’s rebuttal opinions are proper because they respond to Netlist’s expert’s

discussion of comparability for several Micron licenses.

       Netlist’s argument that Micron was required to provide this analysis through earlier

interrogatory responses is flawed. Netlist’s interrogatory prematurely sought expert opinion about

license comparability before the Court’s deadline for expert reports. Genband US LLC v.

Metaswitch Networks Corp., No. 2:14-CV-33-JRG-RSP, 2016 WL 122969, at *1 (E.D. Tex. Jan.

9, 2016) (“In responding to interrogatories, a party is ‘not required [] to disclose its experts'

opinions in advance of the deadline for serving expert reports.’”).

       Netlist’s citation to Entropic Commc’ns, LLC v. Charter Commc’ns, Inc., 2023 WL

8260866, at *3–4 (E.D. Tex. Nov. 28, 2023) is inapposite. ECF No. 364 at 9. In Entropic, the

expert discussed a “license that was not disclosed during discovery.” Entropic, 2023 WL 8260866

at *3. Here, in contrast, Micron produced the licenses at issue in its previous Netlist v Micron Case

No. 2:22-cv-203 litigation, and the parties agreed that the production could be used in the current

litigation. Rueckheim Decl., EX-C. Using these licenses, Netlist’s expert’s opening report


                                                 8
Case 2:22-cv-00293-JRG           Document 500 Filed 02/07/24               Page 13 of 22 PageID #:
                                           55746



addressed the comparability of nineteen licenses. Rueckheim Decl. EX-B (Mangione-Smith

Opening Rpt.), Ex. E) at pp. 360-412. In response, Dr. Stone offered a rebuttal opinion for a subset

of the licenses where his opinion differed. C.f. ZiiLabs Inc., Ltd. v. Samsung Elecs. Co., No. 2:14-

CV-203-JRG-RSP, 2015 WL 6690403, at *2 (E.D. Tex. Nov. 2, 2015) (finding plaintiff was “not

prejudiced by an expert's statements in response to its expert's statements.”).

   VII.     Dr. Stone Applies Proper Claim Construction

        There is nothing improper about Dr. Stone’s interpretation of the claim term “logic . . .

further configurable to output data buffer control signals.” Netlist contends that Dr. Stone’s

analysis

                 ECF No. 364 at 9. But it is completely reasonable and proper for Dr. Stone to

interpret the plain and ordinary meaning of “data buffer control signals” as signals that control the

output of the data buffer (the recited “circuitry”) in the context of the remainder of claim 1, where

it recites “the circuitry being configurable to transfer the burst of N-bit wide data signals . . . in

response to the data buffer control signals.” ECF 101-2 (’417 patent), Claim 1 (emphasis added).

Dr. Stone’s interpretation of “data buffer control signals” takes into account the rest of the claim

that requires the data buffer (“circuitry”) to transfer the burst of data signals, i.e., output the burst

of data signals, in response to the data buffer control signals, i.e., the data buffer control signals

control the output of the data buffer. This is exactly what Dr. Stone opined about, as Netlist admits.

ECF No. 364 at 9



                                                             Dr. Stone then simply compares his plain

and ordinary interpretation of “data buffer control signals” to the accused products and properly

concludes that                                                                                        Id.




                                                   9
Case 2:22-cv-00293-JRG           Document 500 Filed 02/07/24              Page 14 of 22 PageID #:
                                           55747



       Netlist further contends that “Dr. Stone’s analysis ignores the Court’s order” about not

construing the term “based on ‘the limited disclosure of ‘control signals’ in the specification.’”

ECF No. 364 at 10. Dr. Stone’s analysis, as shown above however, does no such thing. The

Court’s reference to not basing the construction “on the limited disclosure of ‘control signals’ in

the specification” related to not “introduc[ing] the ‘fork-in-the-road’ approach into the claims,” an

approach not at issue in Dr. Stone’s opinions. ECF No. 228 (Claim Construction Memorandum

and Order) at 30. Moreover, completely disregarding the specification when interpreting claim

terms is improper. Claims “must be construed in light of the appropriate context in which the

claim term is used. The written description and other parts of the specification, for example, may

shed contextual light on the plain and ordinary meaning.” Aventis Pharms. Inc. v. Amino

Chemicals Ltd., 715 F.3d 1363, 1373 (Fed. Cir. 2013) (internal citation omitted). As explained

above, Dr. Stone’s opinions properly interpret the plain and ordinary meaning of “data buffer

control signals” in the context of the claims and specification.

  VIII.    Dr. Stone’s Anticipation Analysis Should Not Be Stricken

       Contrary to Netlist’s contentions, Dr. Stone provides an analysis of how the prior art, based

on                                                                       (ECF No. 364-12, ¶ 150),

anticipate at least the independent claims of the ’912 and ’417 patents in Appendices A-1, A-2, C-

1, and C-2. For example, in Appendix A-1, Dr. Stone provides cites to Perego to show how Perego

discloses each and every limitation of claim 16. See Rueckheim Decl., EX-G, Appendix A-1

generally. To be clear, Dr. Stone’s invalidity analysis also explains how the knowledge of a skilled

artisan or another reference further renders a limitation obvious. See, e.g., id. at 17



                                  Dr. Stone provides similar analysis for Amidi in A-2, Ellsberry in

C-1, and Halbert in C-2. See Rueckheim Decl., EX-H, Appendix A-2 generally, EX-I and EX-J,


                                                 10
Case 2:22-cv-00293-JRG          Document 500 Filed 02/07/24              Page 15 of 22 PageID #:
                                          55748



Appendices C-1, C-2 for claim 1. Having shown how at least Perego and Amidi disclose each and

every limitation of claim 1 of the ’912 patent and how at least Ellsberry and Halbert disclose each

and every limitation of claim 1 of the ’417 patent, Netlist’s request that “all of Dr. Stone’s

references to invalidity via anticipation should be stricken” (ECF No. 364 at 11) should be denied.

    IX.    Dr. Stone’s Written Description Theories were Properly Disclosed During Fact
           Discovery

       Netlist admits that “Micron’s Invalidity Contentions included a section on written

description that … listed all the claim elements of the asserted claims.” ECF No. 364 at 11. Even

if true, this fact is dispositive because identifying the claim elements that fail to satisfy written

description is all that is required by Patent Rule 3-3(d). In the context of discussing Patent Rule

3-3(d), this Court held that “[o]ne purpose of Patent Rule 3.3 is for early disclosure and notice of

the Defendant’s invalidity-based defenses . . . a § 112(2) defense must at least identify the claim

element that causes a claim to fail for lack of enablement.” DDR Holdings, LLC v. Hotels.com,

L.P., 954 F. Supp. 2d 509, 531–32 (E.D. Tex. 2013), aff'd in part, rev’d in part and remanded, 773

F.3d 1245 (Fed. Cir. 2014). If Netlist had believed Micron’s identification of claims terms was

deficient, it should have moved to compel instead of lying behind the log and waiting to strike Dr.

Stone’s report submitted much later.

       In this case, however, Micron did not merely list all the claim elements of the asserted

claims, as Netlist asserts. Rather, Micron only disclosed the claim elements of the Asserted Claims

that it contends “the application that became the ’912[/’417] patent fails to sufficiently describe or

enable [the following limitations] as required by 35 U.S.C. § 112, ¶ 1.” ECF No. 364-14 at 190,

214-215. All of Dr. Stone’s written description theories disclosed at ECF No. 364-12, ¶¶ 37-83

are part of Micron’s list of claim elements that it contends fail to satisfy the written description

requirement, in accordance with Patent Rule 3-3(d). For example, Dr. Stone opined on the failure



                                                 11
Case 2:22-cv-00293-JRG          Document 500 Filed 02/07/24              Page 16 of 22 PageID #:
                                          55749



of the following terms in the ’912 patent to satisfy the written description requirement: “‘logic

element’ that receives ‘at least one row/column address signal, bank address signals, and at least

one chip-select signal’” (compare ECF No. 364-12, ¶ 41 with ECF No. 364-14 at 190-191) and

“‘circuit’ comprising ‘a logic element’ and ‘a register’ or the claimed use of ‘row’ and/or ‘bank

address signals’” (compare ECF No. 364-12, ¶ 42 with ECF No. 364-14 at 190-191). Further, Dr.

Stone opined on the failure of the following terms in the ’417 patent to satisfy the written

description requirement: “‘logic...configurable to output data buffer control signals in response

to the read or write memory command’ and ‘circuitry coupled between the data signal lines in the

N-bit wide memory bus and corresponding data pins of memory devices in each of the plurality of

N-bit wide ranks, the circuitry being configurable to transfer the burst of N-bit wide data signals

between the N-bit wide memory bus and the memory devices in the one of the plurality of N-bit

wide ranks in response to the data buffer control signals’” (compare ECF No. 364-12, ¶¶ 66, 70

with ECF No. 364-14 at 215-216) and “wherein data transfers through the circuitry are registered

for an amount of time delay such that the overall CAS latency of the memory module is greater

than an actual operational CAS latency of each of the memory devices” (compare ECF No. 364-

12, ¶ 77, with ECF No. 364-14 at 216). Thus, Micron’s contentions sufficiently put Netlist on

notice as to the grounds of invalidity based on written description.

       Netlist’s cited cases are inapposite. In Firtiva, the Court found the expert’s rebuttal written

description opinions not to be disclosed in defendant’s invalidity contentions at all, as required by

P. R. 3-3(d). Moreover, Personalized Media did not involve written description at all and simply

examined the use of boilerplate language with respect to the prior art references. Personalized

Media Communs., LLC v. Apple, Inc., No. 2:15-CV-01366-JRG, 2021 WL 310789, at *2 (E.D.




                                                 12
Case 2:22-cv-00293-JRG            Document 500 Filed 02/07/24             Page 17 of 22 PageID #:
                                            55750



Tex. Jan. 29, 2021). Netlist was “sufficiently notified” of the claim elements Micron contends

cause a claim to fail for lack of written description.

     X.      Dr. Stone’s Derivation Opinions are Proper

          Netlist is incorrect that Dr. Stone has not made a showing for derivation that encompasses

all limitations of the claimed invention. Dr. Stone opined that



                                                                                       ECF No. 364-

12, ¶ 161. Dr. Stone further opined that




                                                   ECF No. 364-12, ¶ 160. In other words, because

Netlist has solely relied on JEDEC standards to show infringement, it is Dr. Stone’s opinion that

the prior art JEDEC standards Mr. Solomon was aware of disclosed the same limitations of the

claims of the Asserted Patents. Thus, Dr. Stone’s derivation opinions are not facially deficient.

    XI.      Dr. Stone’s Prior Invention Opinions are Proper

          For at least the reasons discussed in the section immediately above, Netlist is incorrect in

arguing that Dr. Stone’s prior invention opinions are deficient. See ECF No. 364 at 13 (“Dr. Stone’s

102(g) analysis is facially deficient for the same reason as his 102(f) analysis because he ‘has not

produced evidence sufficient to show that [the JEDEC Standards] disclosed every element of the

claimed invention.’”). For prior invention, Dr. Stone opined that




                                                                         ECF No. 364-12, ¶ 165; see

also id., 168. Dr. Stone’s opinion is again that because Netlist has solely relied on JEDEC


                                                  13
Case 2:22-cv-00293-JRG          Document 500 Filed 02/07/24             Page 18 of 22 PageID #:
                                          55751



standards to show infringement, the prior art JEDEC standards Mr. Solomon was aware of

disclosed the same limitations of the claims of the Asserted Patents. Thus, Dr. Stone’s prior

invention opinions are not facially deficient.

   XII.    Pending IPRs are Part of the Prosecution Histories of the Asserted Patents

       Dr. Stone’s reference to IPR arguments are proper. Dr. Stone explained that he reviewed

                                                                                ECF No. 364-12, ¶

18. It is indisputable that pending IPRs are part of the prosecution histories for the ’912 and ’417

patent. Metacluster LT, UAB v. Bright Data Ltd., No. 2:22-CV-011-JRG-RSP, 2022 WL 18859434,

at *1 (E.D. Tex. Dec. 20, 2022), report and recommendation adopted, No. 2:22-CV-0011-JRG-

RSP, 2023 WL 416417 (E.D. Tex. Jan. 25, 2023) (“The prosecution history also includes

proceedings before the Patent Trial and Appeal Board (the ‘PTAB’), such as inter partes review.”);

Aylus Networks, Inc. v. Apple, Inc., 856 F.3d 1353, 1362 n.3 (Fed. Cir. 2017). Furthermore, Dr.

Stone’s references to IPR arguments do not violate Court MIL No. 13 because they simply

acknowledge certain statements in the prosecution histories of the asserted and related patents that

support his opinions. See, e.g., ECF No. 364-12, ¶ 25




  XIII.    Dr. Stone’s Reference to the Samsung Litigation is in Rebuttal to Dr. Mangione-
           Smith’s Opinions Mentioning the Samsung Litigation First

       Dr. Stone’s opinion in Stone Rebuttal ¶ 365 is a proper direct rebuttal to Netlist’s expert

who opined that




                                                 14
Case 2:22-cv-00293-JRG          Document 500 Filed 02/07/24              Page 19 of 22 PageID #:
                                          55752



                           Rueckheim Decl., EX-B (Mangione-Smith Opening Rpt.), Ex. A, ¶ 121.

Dr. Stone’s opinion is also a proper rebuttal to Netlist’s expert’s assertion that

                                                                                     Id., ¶ 121, n.63.

There is nothing improper with Dr. Stone responding to Netlist’s expert opinions.

  XIV.     Dr. Stone’s Opinions About JEDEC Standards Qualifying as Prior Art Are
           Proper

       Dr. Stone properly relies on four finalized JEDEC standards in his opening report in

addressing invalidity of the ’912 and ’417 patents:

See ECF No. 364-12, ¶ 106. Contrary to Netlist’s contention, there is sufficient evidence that such

standards are made available to the public. Both parties’ experts agree that the final JEDEC

standards were made available to the public.




                                                                                Micron’s expert also

explained how the JEDEC website had a search capability as early as 2003. ECF No. 364-16 at ¶

68. This testimonial evidence and Netlist’s expert admissions show that there is a genuine dispute

of material fact still present regarding the public accessibility of the JEDEC standards. Thus, Dr.

Stone’s opinions regarding the JEDEC standards qualifying as prior art should not be stricken.

   XV.     CONCLUSION

       For the foregoing reasons, Netlist’s motion to strike should be denied in its entirety.



                                                 15
Case 2:22-cv-00293-JRG    Document 500 Filed 02/07/24         Page 20 of 22 PageID #:
                                    55753




Dated: January 30, 2024             Respectfully submitted,

                                    /s/ Michael R. Rueckheim
                                    Thomas M. Melsheimer
                                    State Bar No. 13922550
                                    TMelsheimer@winston.com
                                    Natalie Arbaugh
                                    State Bar No. 24033378
                                    NArbaugh@winston.com
                                    WINSTON & STRAWN LLP
                                    2121 N. Pearl Street, Suite 900
                                    Dallas, TX 75201
                                    Telephone: (214) 453-6500
                                    Facsimile: (214) 453-6400

                                    David P Enzminger (pro hac vice)
                                    denzminger@winston.com
                                    WINSTON & STRAWN LLP
                                    333 South Grand Avenue, 38th Floor
                                    Los Angeles, CA 90071-1543
                                    Telephone: (213) 615-1700
                                    Facsimile: (213) 615-1750

                                    Michael R. Rueckheim
                                    State Bar No. 24081129
                                    MRueckheim@winston.com
                                    Ryuk Park (pro hac vice)
                                    RPark@winston.com
                                    Matthew R. McCullough
                                    MRMcCullough@winston.com
                                    WINSTON & STRAWN LLP
                                    255 Shoreline Drive, Suite 520
                                    Redwood City, CA 94065
                                    Telephone: (650) 858-6500
                                    Facsimile: (650) 858-6559

                                    Matthew Hopkins (pro hac vice)
                                    State Bar No. 1500598
                                    mhopkins@winston.com
                                    WINSTON & STRAWN LLP
                                    1901 L Street, N.W.
                                    Washington, D.C. 20036
                                    Telephone: (202) 282-5000
                                    Facsimile: (202) 282-5100

                                    William M. Logan
                                    State Bar No. 24106214
                                    wlogan@winston.com
                                    Juan C. Yaquian (pro hac vice)
                                    State Bar No. 24110559
                                    JYaquian@winston.com


                                      16
Case 2:22-cv-00293-JRG   Document 500 Filed 02/07/24       Page 21 of 22 PageID #:
                                   55754


                                   WINSTON & STRAWN LLP
                                   800 Capital Street, Suite 2400
                                   Houston, TX 77002
                                   Telephone: (713) 651-2600
                                   Facsimile: (713) 651-2700

                                   Wesley Hill
                                   State Bar No. 24032294
                                   wh@wsfirm.com
                                   Andrea Fair
                                   State Bar No. 24078488
                                   andrea@wsfirm.com
                                   Charles Everingham IV
                                   State Bar No. 00787447
                                   ce@wsfirm.com
                                   WARD, SMITH & HILL, PLLC
                                   1507 Bill Owens Parkway
                                   Longview, TX 75604
                                   Telephone: (903) 757-6400
                                   Facsimile: (903) 757-2323


                                   ATTORNEYS FOR DEFENDANTS
                                   MICRON TECHNOLOGY, INC., MICRON
                                   SEMICONDUCTOR PRODUCTS, INC.,
                                   MICRON TECHNOLOGY TEXAS, LLC




                                     17
Case 2:22-cv-00293-JRG         Document 500 Filed 02/07/24            Page 22 of 22 PageID #:
                                         55755



                                CERTIFICATE OF SERVICE

       I certify that, on January 30, 2024, a copy of the foregoing was served on all counsel of

record via the Court’s ECF system and email.



                                                                       /s/ Michael R. Rueckheim
                                                                          Michael R. Rueckheim


            CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

       I hereby certify that the foregoing document and exhibits attached hereto are authorized

to be filed under seal pursuant to the Protective Order entered in this Case.



                                                                       /s/ Michael R. Rueckheim
                                                                          Michael R. Rueckheim




                                               1
